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I UNCLASSIFIED / FOR OFFIGIAL USE ONLY / PRIVACY ACT. APPLIES __ |
Apply appropriate classification tevel and any contral mariings {if appiicante} Wien filled in,

(U) SENSITIVE COMPARTMENTED INFORMATION NONDISCLOSURE AGREEMENT

An Agreement between. JACK TEIXEIRA ahd the United States.

, (Name ~ Printed ar Typed)
1. (U} Intending to be legally bound, |-hereby accept the obligations cantained in this Agreament in. consideration of my being granted.
access to information or material protected within Special Access Programs, hereinafter referred ‘to in this Agreement as Sensitive
Comparmented. Information (SCI), 1 havea been advised that SCI involves or derives from intelligence sources or methads-and is
classified or is in process of a classification determination under the standards of Executive Order 13526 or other Executive.order or
statute..| understand and accept that by being granted actéess to SCI, special confidence and tnist shall be placed.in me’ by the United
States Government.

2,.(U) | hereby acknowledge that | have received.a security indoctrination conceming the nature-and protection of SCI, including the
procedures ta be followed in ascertaining whether other persons to, whom | contemplate disclosing this information or material. have
been approved for access to it; and | understand these procedures, | understand that | may be required to-sign subsequent agreements
upon being granted access to different categaries of SCI. | further understand. that all my obligations under this agreement continue to.
‘exist whether ornot | am required to sign:such subsequent agreements.

3..(U) |. have been advised that the unauthorized diselésure, unauthorized retention, or negligent handling of SCI by me could cause
‘itreperabte injury to the United States of be used to: advantage: by a foreign nation. hereby agrae that 1 will never divulge anything
marked as SCI or that | know.to be-SCI to anyone who is not authorized to receive it without prior writen authorization irom the United:
States Government department or agency (hereinafler Department or Agency) that last authorized my.access to SCI..! understand that
‘itis my résponsibiiity.to consult with appropriate management, authorities in the Department.or Agency that last authorized my access to
SCI, whether or not] am still employed by or associated with that Department or Agency or a contractor thereof..in order to ensura that
1 know-whether information or material within my knowledge or control that | have reason to beleve might be, or related to or derived
from SCI, is considered by such Dapartment or Agency to’ ba SCH I further understand that ! am also obligated by law and regulation
‘not to disciose any classified information-er material in.an unauthorized fashion.

4, (U) In consideration of being granted access to SCI and of being assigned or.retained in a position-of special confidenée and trust
requiring access to SCI, | hereby agree to submit for security review by the. Department or Agency that fast authorized my access to

such information or material, any writing or other preparation in any form, including a work of fiction, that contains or purports.to contain

any SCI or description of activities that produce or relate to: SC! or that | have reason to believe are derived from SC, that I.contempiate
disclosing to any person‘not authorized to have access to SC or that | have prepared for public disclosure. | understand and agree that

my abligation to-submit such preparations tor review applies-during.the course of my access to SCI and thereafter, and lLagree to make
any required submissions prior to discussing the.preparation with, or. shawing it to, anyone-who is.not authorized to have access to SCI.
] further agree. that Iwill not disclose the contents of.such preparation with, or show if to, anyone whois not-authorized to have access
fo SCI until | have received written autharization. from the. Department or Agency that last authorized my access to SCI that such
disclosure is permitted. - .

5. (U) J understand that the purpose of the review described in paragraph 4 iste give the United States: a‘ reasonable. opportunity to
determine whether the praparation submitted pursvant.to paragraph 4 sets forth any SCI. | further understand that the Department ar
Agency to which | have made a submissibn will act upen it, coordinating within the Intelligence Community when appropriate, arid make
4 response to me within’a reasonable time, riot to exceed 30 working days from.date of receipt.

6. (U) I have been. advised that any breach of this Agreement may result in my termination of my access to SCI and removal from a
position of special confidence and trust requiring such access, as well as the termination of my employment cr other relationships with
any. Department or Agency that provides me with access to SCI. in addition, | have been advised that.any unauthorized disclosure. of
SCI by me may constitute violations of United States. criminal taws, including provisions of Sections: 793, 794, 798, and.$52, Title 18,
United States.Code, and of Section 783{b), Title 60, United. States Code. Nothing in this agreement. constitutes.a waiver by the United
States of the right.to prosecute me for any statutory violation.

7, (U) | understand that the United States Government may seek any remedy available to it to enforce this ‘Agreement including, but not
limited to, application for a court.order prohibiting disclosure of information in breach of this Agreement. | have been advised that the
action can be brought against me in.any of the several appropriate United States District Courts. whare the United States Government
may elect to file the action, Court costs and reasonable attomey’s fees incurred by the United: States-Government may be assessed
against mé if | lose such action. - :
8. (U) | understand ‘that all information to. which may obtain access by signing this Agreement is naw and will remain the property of .,
‘the United States Government unless and until. otherwise determined by an appropriate official or final ruling of a court of law. Subject
‘to such determination, I do not now; hor will | ever, possess any right, interest, tite, or claim whatsoever to such information. | agree
that I shalt return alt materials that may have come into. my possession or for which | am responsible because of such access, upon
‘demand by an authorized representative of the United States Government cr upon the conclusion of my -erployment or other
elatianship with ‘the United States Government entily providing me access to such materials, If! do not retum such materials upon
request,.|-undarstand this: may be a violation of Section 793, Title 18; United States Code, ,
9, (U) Unless and.until i am réleased.in writing by an. authorized representative of the Department or Agency that last pravided me with.
accass ta SCI, | understand that all.conditions and obligations imposed on me by this Agreement apply during the time I-am-granted

access.fo SCI, and at all times thereafter. |

10..(U) Each provision of this Agreement is. severable. Ifa court should firid any provision of this Agreement to be unenforceable, all
other provisions of this Agreement shall. remain-in full force and effect. This Agreement concems SC! and.does not set forth such other
FORM 4474 (Rev. 12.2013) |___UNCLASSIFIED / FOR OFFICIAL.USE ONLY/ PRIVACY ACTAPPLIES _| Se ow

 

 

 

 

 
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Apply appropriate classification level and any control markings (if applicable) when filed in.

conditions and ‘obligations ‘not related to SCI as may now or hereafter pertain to my employment by or assignment ot relationship with
the Department or Agency. us ae me ’

41, (U) [have read this Agreement carefully and my questions, if any, have been answered to my:satisfaction. | acknowledge that the
briefing officer has made. available Sections 793, 794,798 and ‘952 of Titte 18, United States Code, and Section 783(b) of Title: 50,.
United. States: Code, and Executive Order 13526, as amended, so that! may read them at this time, if} so choose.

42. (U). hereby assign to the United States Government all rights, tlle and interest, and all royalties, remunerations, and emofuments.
that have resulted, will result, or may result from. any disclosure,- publication, or revelation not consistent with the terms.of this
Agreement. :

43. (U) These provisions are consistent with and do not supersede, conflict with, or otherwise. alter the -employee. obligations, rights, or
Jiabilities created by existing statute of Execittive. order relating to (1) classified. information, (2).communications to Congress, (3) the:
reporting to an Inspector Generat of a violation of any law, cule; or regulation, or mismanagement, a gross waste of funds, an abuse of

authority. ora substantial and “specific danger ‘te public health or safety, or (4) any other whistleblower protection. The definitions.

requirements, obligations. rights, sanctions, and liabilities created by controling Executive orders and statutory provisions are
incorporated into. this agreemant.and are-controlling.

14. (U) These restrictions ara’ consistent-with arid: do not supersede. conflict with or otherwise alter ‘the employee cbiigations Tights or
Wabitities created by Executive. Order13526; or any successor therato, Section 7211 .of Title 5, United States Code (governing
disclosures to. Congress); Section 1034 of Tile 10, United States Code, as.amended by. the Military Whistleblower Protection: Act
{governing disclesures to Congress by members of the Military); Section 2302(b)(8) of Title 5, United States Code, as amended by the
Whistleblower Protection Act (goveming disclosure of iltegality, waste, fraud, abuse or pubic health or safety threats); the Intelligence
Identities: Protection Act-of 1982 (50 U.S.C.:421 et seq.) (governing disclosures that: could expose confidential Government. agents),
sections 7(c} and 8H of the inspector General Act of 1978 (S U.S.C, App.) (relating to disclosures to. an inspector-general, the’
inspectors general of the Intelligence Community, and Congress); section 103H(g){3) of the National Security Act of 1947 (56 U.S.C.
403-3h(9){3) (relating to disclosures to the inspector general of the: Intelligence Community); sections 17(d)(5} and 17(e){3) ‘of the. CIA
‘Act.of 1949 (50 U.S.C. 403q(¢){5) and 403q{@)(3)) (relating to-disclesures to the Inspector Generat-of the: Central inteifigence Agency
and Congress}: ard. the statutes. which protect agent disclosure. which may compromise the national segurity, including Section 641,

793, 794, 798, and 952 of Title 18, United States Code, and Section 4(b) of the Subversive Activitias Contro! Act of 1950 (50 U:S.C.
Section.783(b)}.. The definitions, requirements, obligations, rights, sanctions and liabilities created by said. Executive Order and listed
statutes are incorporated Into this Agreement ‘and ere controlling.

45. (U) This Agreement shail be interpreted under and in conformance with the law-ofthe United States.

16..(U)-| make this Agreement without any. mantal reservation of purpose. of evasion. . ,
_SockRaln se, (7/ Faulty 2.021

Signature Date.

erpianed who accepted it on betialf of the United States Government asa

 

   
 
 

The execution of this Agreement was witnessedt
prior condition of access to Sensitive Compartiags

 

 

 

 

 

 

 

 

 

 

WITNESS and ACCEPTANCE: _a joy 202s
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SECURITY BRIEFING / DEBRIEFING ACKNOWLEDGMENT
SI TK . CG HCS-P. cease ‘ante
. {Special Access Programs hy initials Only} -
102 iW
SSN (Sea Notice Below) Printed or Typed Name" Organization.

 

 

   

‘DEBRIEF. Date
Having been reminded of: my.centinuing obligation to comply with
the terms .of this. Agreement, | hereby. acknowledge: that |. vas
debrieted ‘on the abave SCI Special Access Program(s):

| SRIEF Date 07 Daly LOL
‘Thereby acknowedge that] was briefed on the above:
‘SCI Special Access Programs): -

 
        
 

 

 

 

 

‘Signature of individual Brefed

 

Coane wih relevant SCI procedures.

 
   

 

Printed or Typed Name : Organization {Neme and Address).

 

 

{U). NOTICE: Tho Prvsey Ae2"5:US.C..522a. requires ibe! fedurel agencies inform indniduats,’at ine bie information iz okated from then, whener the disticsure is mandatory of voluntary, by wnat
autbenty Sut informaton is sobaled, and what uses will be made of tha inferiaton. You Bra herehy acased that auionty. for sooceng your Sowat, Security Account.Numbor (SSA) is Executve Order.

2297. ga Gmended. Yous SSA val bé used te idenbly you precisely when itis necessary to 1} certty Unat you ave seeasa fo the information Incscated above, 2) cialainene that your soness to the iaformapen

hat tarmmated, cr'3} cortty tial you have winessed abiding of aghagiing Alougn Ulcuswre oF your SSN (snot mandelory, your talus 1 00.5a may iMipede such cerkficetona or GetorTEnAeone.
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